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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 4:09CR3103
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )               TENTATIVE FINDINGS
                                            )
KELLEY LYNNE EWINGS,                        )
                                            )
             Defendant.                     )

      The Court has received the Revised Presentence Investigation Report (“PSR”), the

Defendant’s objections thereto (Filing No. 74), and the government’s statement of position

(Filing No. 65). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant objects to the following: ¶ 36 (drug quantity); ¶ 39 (no minimal role

adjustment); ¶¶ 49-53 (criminal history).1 The objections are discussed below.

¶ 36 - Drug Quantity

      The plea agreement states that the Defendant is responsible for at least 50 but less

than 500 grams of cocaine base. That quantity spans both base offense levels 30 and 32

under U.S.S.G. § 2D1.1. The PSR finds that he is responsible for at least 150 but not less

than 500 grams of cocaine base and therefore concludes that base offense level 32

applies. (PSR, ¶¶ 29, 36.) As the government points out, the Defendant did not object to

the underlying fact of the 150 to less than 500 gram amount stated in ¶ 29, and therefore

that fact is taken as true. United States v. Razo-Guerra, 534 F.3d 970, 975-76 (8th Cir.


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       The Defendant states that she also objects to ¶ 48. However, no specific objection
was raised with respect to ¶ 48.
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2008) (without a specific objection to an underlying fact in a PSR, the fact is taken as true,

and implied objections are not recognized), cert. denied, 129 S. Ct. 1365 (2009).

Moreover, the quantity and base offense level in the PSR are supported by the plea

agreement. The objection is denied.

¶¶ 49-53 - Criminal History

       The Defendant does not object to the “fact” that these are his prior convictions.

Rather, he objects to the probation officer’s application of the sentencing guidelines to

those offenses, all of which are assigned one criminal history point under U.S.S.G. §

4A1.1(c). Section 4A1.1(c) states that one point should be added for each prior “sentence”

not counted in U.S.S.G. §§ 4A1.1(a) and (b). A maximum of four points may be counted

under § 4A1.1(c). U.S.S.G. § 4A1.1 application note 3.

       The Defendant argues that the offense in ¶ 49 occurred over eight years prior to the

instant offense and the sentence was only a $100 fine. A “prior sentence” is defined in

relevant part as “any sentence imposed upon adjudication of guilt.” U.S.S.G. § 4A1.2(a)(1).

Therefore, a $100 fine is a “prior sentence”within the context of § 4A1.1(c). Also, with

respect to the sentence in the instant case, “[a]ny . . . prior sentence that was imposed

within ten years of the defendant’s commencement of the instant offense is counted.”

U.S.S.G. § 4A1.2(e). In this case, the Defendant was arrested on April 16, 2009, in

connection with this offense. Therefore, her commencement in the instant offense began

at least as early as that date. She was sentenced in the case described in ¶ 49 on July 25,

2001, within ten years of the instant offense. The objections to ¶ 49 are meritless, and they

are denied.



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       The Defendant then argues that the offenses in ¶¶ 50 through 53 are violations of

city ordinances for which comparable state offenses do not exist. The objections are

meritless. The Court agrees with the probation officer’s analysis in the Addendum to the

PSR, and the objections are denied.

¶ 39 - Role

       The objection to the lack of a minimal role adjustment is likely moot. The Defendant

has a total offense level of 29 and is in criminal history category III. Absent the statutory

mandatory minimum sentence of 120 months, her guideline range would be 108-135

months. In light of the mandatory minimum sentence, however, the range becomes 120-

135 months. A downward role adjustment would only benefit the Defendant insofar as she

might reach a guideline range of 120 months. The plea agreement recommends a

sentence at the low end of the guideline range, and it is this Court’s practice to generally

honor those agreements.       Therefore, the objection is denied with out prejudice to

reassertion if the Court states an intention at sentencing to sentence the Defendant above

120 months.

       IT IS ORDERED:

       1.     The Defendant’s objections to ¶¶ 36 and 49-53 of the PSR are denied;

       2.     The objection to ¶ 39 (adjustment for a minimal role) is denied with out

prejudice to reassertion if the Court states an intention at sentencing to sentence the

Defendant above 120 months;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion



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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 16th day of March, 2010.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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